                                      CASE 0:22-cr-00234-KMM-TNL Doc. 7 Filed 09/19/22 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )                 BEFORE: David T. Schultz
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )     Case No:                22-cr-234 KMM/TNL
                                                            )     Date:                   September 19, 2022
Justice Anthony Valentino,                                  )     Courthouse:             Minneapolis
                                                            )     Courtroom:              9E
                                         Defendant,         )     Time Commenced:         1:48 p.m.
                                                                  Time Concluded:         1:52 p.m.
                                                                  Time in Court:          4 minutes

APPEARANCES:
   Plaintiff: Matthew Ebert, Assistant U.S. Attorney
   Defendant: Manny Atwal, Assistant Federal Public Defender
                         X FPD          X To be appointed


   Date Charges Filed: 9/15/2022                           Offense: felon in possession

   X Advised of Rights

on          X Indictment

X Defendant detained, govt to submit a proposed order.


X Detention hearing waived and reserved
X Defendant also arraigned at this hearing, see separate arraignment minutes.
X Government moves to unseal the case.         X Granted

Additional Information:
X Oral Rule5(f) Brady notice read on the record.
                                                                                                    s/JAM
                                                                                                  Signature of Courtroom Deputy




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